Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 1 of 9 PageID #: 1023
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 2 of 9 PageID #: 1024
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 3 of 9 PageID #: 1025
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 4 of 9 PageID #: 1026
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 5 of 9 PageID #: 1027
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 6 of 9 PageID #: 1028
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 7 of 9 PageID #: 1029
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 8 of 9 PageID #: 1030
Case 3:13-cr-00097   Document 425   Filed 02/14/14   Page 9 of 9 PageID #: 1031
